         Case 19-16923-mdc                 Doc          Filed 03/18/24 Entered 03/18/24 19:21:48                                 Desc Main
                                                        Document      Page 1 of 3
 Fill in this information to identify the case:

 Debtor 1              Donna M. Smith
 Debtor 2
 (Spouse, if filing)
 United States Bankruptcy Court for the:    Eastern     District of             Pennsylvania
                                                                      (State)
 Case number                               19-16923




Form 4100R
Response to Notice of Final Cure Payment                                                                                                  10/15

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee's notice of final cure payment.

  Part 1::             Mortgage Information                                              Statement / Response Date: 03/01/2024

                                                                                                                  Court claim no. (if known):
Name of creditor:                  FirstKey Master Funding 2021-A Collateral Trust,                                            2-2
                                   U.S. Bank Trust National Association as Collateral
                                   Trust Trustee
                                   c/o Specialized Loan Servicing, LLC
Last 4 digits of any number you use to identify the debtor's account:                                      6924
Property address:                2425 Arcola Street
                                 Number        Street


                                 Philadelphia, PA 19153
                                 City                                  State         ZIP Code


   Part 2:             Prepetition Default Payments

Check One:
Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
                                                                                                                                 




   on the creditor's claim.
Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition
       default on the creditor's claim. Creditor asserts that the total prepetition amount remaining unpaid
       as of the date of this response is:


   Part 3:             Postpetition Mortgage Payment

Check one

                                                                                                                            




   Creditor states that the debtor(s) are current with all postpetition payments consistent with §
   1322(b)(5) of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

       The next postpetition payment from the debtor(s) is due on:                             *
                                                                                               MM / DD   / YYYY
       *Total Debt Claim Paid in Full- Loan will be liquidated upon
       Discharge.

  Creditor states that the debtor(s) are not current on all postpetition payments consistent with §
       1322(b)(5) of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

       Creditor asserts that the total amount remaining unpaid as of the date of this response is:




Form 4100R                                       Response to Notice of Final Cure Payment                                                  page 1

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        Case 19-16923-mdc                     Doc        Filed 03/18/24 Entered 03/18/24 19:21:48                            Desc Main
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Debtor 1              Donna M. Smith                                       Case number (if known)         19-16923
                      First Name       Middle Name       Last Name


a.     Total postpetition ongoing payments due:                                                              (a)     $0.00

b.     Total fees, charges, expenses, escrow, and costs outstanding:                                       + (b)     $0.00

c.     Total. Add lines a and b.                                                                             (c)     $0.00

       Creditor asserts that the debtor(s) are contractually
       obligated for the postpetition payment(s) that first became                   MM / DD        / YYYY
       due on:

     Part 4:       Itemized Payment History
     If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the debtor(s) are
     not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs, the creditor must attach
     an itemized payment history disclosing the following amounts from the date of the bankruptcy filing through the date of this
     response:
     ◼ all payments received;
     ◼ all fees, costs, escrow, and expenses assessed to the mortgage; and
     ◼ all amounts the creditor contends remain unpaid.


     Part 5:       Sign Here

     The person completing this response must sign it. The response must be filed as a supplement to the creditor's
     proof of claim
     Check the appropriate box::
      I am the creditor.
      I am the creditor's authorized agent.
     I declare under penalty of perjury that the information provided in this response is true and correct to the best of my
     knowledge, information, and reasonable belief.
     Sign and print your name and your title, if any, and state your address and telephone number if different from the notice
     address listed on the proof of claim to which this response applies.


                   /s/ Mukta Suri                                                            Date      03/18/2024
                      Signature

     Print            Mukta Suri
                      First Name              Middle Name              Last Name            Title    Authorized Agent for Specialized
                                                                                                     Loan Servicing LLC
     Company          Bonial & Associates, P.C.
     If different from the notice address listed on the proof of claim to which this response applies:
     Address          P.O. Box 9013
                      Number                  Street
                      Addison, Texas 75001
                      City                                     State                           ZIP Code
     Contact phone                 (972) 643-6600                          Email      POCInquiries@BonialPC.com




Form 4100R                                           Response to Notice of Final Cure Payment                                       page 2

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               CERTIFICATE OF SERVICE OF RESPONSE TO NOTICE OF FINAL CURE

I hereby certify that a true and correct copy of the foregoing document has been served upon the following parties in
interest on or before March 18, 2024 via electronic notice unless otherwise stated.


Debtor               Via U.S. Mail
Donna M. Smith
2425 Arcola Street
Philadelphia, PA 19153


Debtors' Attorney
Michael I. Assad
Cibik Law, P.C.
1500 Walnut St
Ste 900
Philadelphia, PA 19102


Chapter 13 Trustee
Kenneth E. West
1234 Market Street - Suite 1813
Philadelphia, PA 19107




                                                      Respectfully Submitted,
                                                      /s/ Mukta Suri




FINAL CURE NOTICE - CERTIFICATE OF SERVICE                                                               4129-N-9194
                                                                                                      FCN_COSDflt_01
